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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA COMPLAINT
- against - (18 U.S.C. §§ 924(c)(1)(A)Q),
924(c)(1)(A)(ii) and 2113(a))
MANUEL A. MORALES,
Case No. 25-MJ-226
Defendant.
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EASTERN DISTRICT OF NEW YORK, SS:

DAVID BONACARTI, being duly sworn, deposes and states that he is a Task
Force Officer with the Federal Bureau of Investigation, duly appointed according to law and
acting as such.

On or about July 1, 2025, within the Eastern District of New York and elsewhere,
the defendant MANUEL A. MORALES did knowingly and intentionally take and attempt to
take by force, violence and intimidation, from the person and presence of another, money
belonging to and in the care, custody, control, management and possession of a bank or other
financial institution, to wit: Santander Bank, the deposits of which are insured by the Federal
Deposit Insurance Corporation.

(Title 18, United States Code, Section 2113(a))

On or about July 1, 2025, within the Eastern District of New York and elsewhere,
the defendant MANUEL A. MORALES did knowingly and intentionally use and carry one or

more firearms during and in relation to a crime of violence, to wit, a violation of Title 18, United
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States Code, Section 2113(a), and did knowingly and intentionally possess such firearms in
furtherance of said crime of violence, one or more of which firearms was brandished.

(Title 18, United States Code, Sections 924(c)(1)(A)(i) and 924(c)(1)(A)(ii))

The source of your deponent’s information and the grounds for his belief are as
follows:!

1. I am a Task Force Officer with the Federal Bureau of Investigation
(“FBI”) and have been involved in the investigation of numerous cases involving bank robberies
and firearms. I am also a Detective with the New York City Police Department (“NYPD”). I
am familiar with the facts and circumstances set forth below from my participation in the
investigation; my review of the investigative file, including the defendant’s criminal history
record; and from reports of other law enforcement officers involved in the investigation.

2. On or about July 1, 2025, at approximately 10:58 a.m., an individual, who
was subsequently determined to be the defendant MANUEL A. MORALES as described below,
entered a Santander Bank branch located at 118-11 101st Avenue, Queens, New York (the
“Santander Bank”). MORALES approached a teller, displayed a firearm and passed a demand
note to the teller demanding money. In the demand note, MORALES also indicated he had a
gun and, “[i]f you look you will see the gun and I am not playing I have nothing to loose [sic].”
The teller handed MORALES approximately $2,738 in United States currency, and MORALES
fled the location on foot westbound on 101st Avenue.

3. Shortly thereafter, the FBI responded to the location and began a video

canvass. On video surveillance recovered from the Santander Bank of the robbery, the

I Because the purpose of this Complaint is to set forth only those facts necessary to

establish probable cause to arrest, [ have not described all the relevant facts and circumstances of
which I am aware.
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defendant MANUEL A. MORALES is visible wearing a white shirt, black shorts, green jacket,
black satchel bag and a black hat. Through video surveillance, law enforcement agents tracked
MORALES turning from 101st Avenue to Lefferts Boulevard and into a garage on Lefferts
Boulevard, where MORALES discarded the green jacket, which law enforcement officers
subsequently recovered at that location. Law enforcement agents then tracked MORALES,
through their video canvass, turning back onto 101st Avenue and then turning onto 120th Street,
where MORALES discarded the black hat and white shirt, which law enforcement officers
subsequently recovered at the location where the items were discarded.

4, Law enforcement agents continued to track the defendant MANUEL A.
MORALES, through their video canvass, to the intersection of Lefferts Boulevard and Liberty
Avenue, in Queens, New York, where video surveillance captured MORALES enter a livery cab.
Law enforcement agents identified the livery cab and subsequently spoke with the livery driver,
who drove law enforcement agents to the location where the livery driver had dropped off
MORALES—specifically, the intersection of 135th Avenue and 122nd Street in Queens.
Through an additional video canvass, law enforcement agents tracked MORALES to the front of
a residence approximately three blocks away (the “Residence”).

5. Law enforcement agents spoke with one of the residents of the Residence,
who identified a still photograph taken from video surveillance of the individual who robbed the
Santander Bank collected during law enforcement officers’ video canvass as his neighbor
“Manny,” and who directed law enforcement agents to a basement apartment within the
Residence. Investigators knocked on the door and were let inside by the defendant MANUEL

A. MORALES’s mother. Once inside, law enforcement agents placed MORALES under arrest.
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While effecting the arrest, law enforcement agents observed in plain view a black satchel bag
consistent in appearance with a bag carried by the robber during the Santander Bank robbery.

6. In addition, I and other law enforcement agents have reviewed
surveillance camera footage from the Santander Bank robbery and from video surveillance of the
perpetrator’s path once he left the bank and have compared that to a known photograph of the

defendant MANUEL A. MORALES, as depicted below:

Based on such comparison, as well as my own personal interactions with MORALES, I believe

that they are the same individual. In addition, a tattoo is visible on the robber’s left arm from
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video surveillance footage collected as part of the video canvass described above, which is
consistent in appearance with a tattoo on MORALES’ left arm.

G The deposits of Santander Bank are insured by the Federal Deposit
Insurance Corporation.

WHEREFORE, your deponent respectfully requests that the defendant MANUEL

A. MORALES, be dealt with according to law.

Task Force Officer, Federal Bureau of Investigation

Sworn to before me this
) day of July, 2025

THE HONORABLE VERA M. SCANLON
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
